                                           United States Bankruptcy Court
                                            Southern District of Alabama

                                                CHAPTER 13 PLAN

IN RE:                                                             Case No. 09-10193
Benjamin Nathaniel Matt,
                                                                   Chapter 13
SSN: XXX-XX- 3152

CREDITOR’S RIGHTS WILL BE AFFECTED BY THIS PLAN. You should read this and other documents sent to you
carefully and discuss them with your attorney.

TO FILE AN OBJECTION TO CONFIRMATION. Objections to Confirmation must be filed electronically at the
Bankruptcy Court’s website at www.alsb.uscourts.gov, or you may scan the documents into the ECF system at the courthouse.
Objections to Confirmation must be filed by 12:00 p.m. (noon) two (2) days before the confirmation hearing. See local General
Order Number 26, which can be found at www.alsb.uscourts.gov , and click “local rules”.

PROOFS OF CLAIM. Proofs of claim must be filed electronically at the Bankruptcy Court’s website at
www.alsb.uscourts.gov, or you may scan the documents into the ECF system at the courthouse.

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a Proof of Claim to be paid.

1. PAYMENT AND LENGTH OF PLAN

Debtor(s) shall pay $ 240.00 per month to the Chapter 13 Trustee starting immediately for 60 months. Objections
to the length of this Plan must be filed by 12:00 p.m. (noon) two (2) days before the confirmation hearing.

2. PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS AND PAYMENTS TO LESSORS

The Debtor proposes that the Trustee make adequate protection payments, or payments to lessors prior to the confirmation of this
Plan, pursuant to section 1326(a)(1) as follows:


              CREDITOR                       COLLATERAL DESCRIPTION                        AMOUNT OF MONTHLY
                                                                                               PAYMENT
HSBC Auto                                   2005 Pontiac Bonneville                  $ 50.00



The Trustee shall commence making such payments to creditors holding allowed claims secured by an interest in real and
personal property or leases of real and personal property consistent with the Trustee’s distribution process and only after the
timely filing of a proof of claim by such creditor. In the event of pre-confirmation conversion and/or dismissal, all adequate
protection payments received by the Trustee shall be distributed to creditors as so designated. The Trustee shall receive the
percentage fee fixed under 28 U.S.C. 586(e) on all adequate protection payments. Upon confirmation the treatment of such
claims will be governed by Paragraph 7.




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3. DOMESTIC SUPPORT OBLIGATIONS
The Debtor proposes that the Trustee make the following pre-petition Domestic Support Obligations in full pursuant to
§507(a)(1) unless the claimant agrees or the Court orders otherwise:


             CREDITOR                     TOTAL ARREARAGE               AMOUNT AND FREQUENCY OF PAYMENT


The Debtor shall directly pay all Domestic Support Obligations that become due after filing of the petition.

4. ATTORNEY’S FEES FOR DEBTOR(S)’ BANKRUPTCY COUNSEL

The following attorney’s fees shall be paid by the Trustee pursuant to Amended Local General Order 17.


      DEBTOR(S)’ COUNSEL                      TOTAL FEE
Herman D. Padgett                         $ 3,000.00


5. PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)

The Debtor will pay all priority claims pursuant to §507 unless claimant expressly agrees otherwise.


       CLAIMANT                 TYPE OF PRIORITY           SCHEDULED AMOUNT                   MONTHLY PAYMENT




6. PRIORITY CLAIMS SUBJECT TO SUBORDINATION

Pursuant to section 1322(a)(4), the following priority creditors shall not be paid in full:


             CREDITOR                         REASON FOR SUBORDINATION                        SCHEDULED AMOUNT




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7. SECURED BY COLLATERAL

Unless otherwise ordered by the Court, the Trustee shall treat the secured claim(s) listed in the Section 7 on the terms and
conditions set forth therein. Any portion of a secured claim that exceeds the amount(s) set forth in this Section 7 shall be paid as
a general unsecured claim pursuant to Section 9.


           CREDITOR                           COLLATERAL                 COLLATERAL            INTEREST            §1325(a)(5)
                                              DESCRIPTION                  VALUE                 RATE              AMOUNT
HSBC Auto                                ’05 Bonneville                  $ 8,700.00           4.25%            $ 165.00


Debtor shall pay all other allowed secured creditors in full.

8. SURRENDERED PROPERTY

Debtor surrenders the following collateral. Upon confirmation, the automatic stay (including the co-debtor stay) is lifted as to
surrendered collateral. Any claim submitted by such creditor will receive no distribution under this Plan until an amended proof
of claim is filed by such creditor, reflecting any deficiency balance remaining following surrender.


                        CREDITOR                                                COLLATERAL DESCRIPTION




9. UNSECURED CLAIMS
Allowed non-priority unsecured claims shall be paid through the distribution of all available disposable income at a percentage
to be determined by the Trustee for the number of months set forth in Section 1.

10. CURING DEFAULTS AND MAINTAINING DIRECT PAYMENTS

Debtor shall maintain the following monthly payments and pay them directly to creditor. Trustee shall pay the allowed claims
for arrearage at 100% through this Plan unless otherwise noted in Paragraph 12(e).


                  CREDITOR                                       COLLATERAL                            DIRECT PAYMENT
                                                                 DESCRIPTION                               AMOUNT
HSBC Mortgage                                        Homeplace                                     $ 592.00


11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Debtor moves that the following executory contracts and/or leases be assumed:


           CREDITOR                         COLLATERAL DESCRIPTION




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12. OTHER PLAN PROVISIONS AND MOTIONS

(a)    Lien Retention
       Except as provided above in Paragraphs 7 and/or 10, allowed secured claim holders shall retain liens until liens are
       released or upon completion of all payments under this Plan.

(b)    Vesting of Property of the Estate
       Property of the Estate shall revest in the Debtor(s) upon discharge or dismissal of the case.

(c)    Direct Payment by Debtor
       Secured creditors and lessors to be paid directly by the Debtor(s) may continue to mail to Debtor(s) the customary
       monthly notices or coupons notwithstanding the automatic stay.

(d)    Exemption Limitations
       The Debtor(s)’ exemptions in real and personal property are specifically limited to those allowed under applicable state
       and federal laws. To the extent that Debtor(s)’ asset values exceed allowable exemption limits, the non-exempt
       portions shall be Property of the Estate and subject to distribution by the Trustee. The terms of this provision shall not
       be construed to limit or abrogate the rights of parties in interest to object to exemptions pursuant to the Bankruptcy
       Code, or in any way limit the Debtor(s)’ rights regarding the post-petition equity accrual of assets.

(e)    Other Provisions of the Plan Not Elsewhere Described:




/s/    Benjamin Nathaniel Matt                                            DATED: 01-16-09
       Benjamin Nathaniel Matt



/s/    Herman D. Padgett                                                  DATED: 01-16-09
       Herman D. Padgett
       Padgett and Robertson
       Attorneys at Law




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